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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
-----------------------------------------------------x
TIMOTHY KARCHER, et al.,                              :
                                                      :     Case No. 16-cv-00232 (CKK)
                                    Plaintiffs,       :
                                                      :
                  -against-                           :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                                    Defendant.        :
-----------------------------------------------------x

                               NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a), Plaintiffs Brian Neuman, Erika Neuman, Charles James

Shaffer, Charles L. Shaffer, Jr., Juan Saenz, and Shaula Shaffer, by and through the undersigned

counsel, hereby give notice that they are voluntarily dismissing their claims against Defendant

Islamic Republic of Iran without prejudice.


Dated: March 15, 2021
       Hackensack, NJ


                                                      By:   /s/ Gary M. Osen
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